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October 10, 2023 AShapiro@gibsondunn.com

VIA ECF

Hon. Edgardo Ramos

United States District Judge

Thurgood Marshall United States Courthouse
40 Foley Square

New York, New York 10007

Re: Khan Funds Management America, Inc., et al. v. Nations Technologies Inc. et al., No.
1:22-cv-05055-ER (S.D.N.Y.)

Dear Judge Ramos:

We are counsel for Plaintiffs Khan Funds Management America, Inc. and Xuefeng “Eric” Dai
(“Plaintiffs”). We are in receipt of the Court’s order dated September 19, 2023, granting Optimum
Semiconductor Technologies Inc.’s (“OST”) Motion to Dismiss (Dkt. 74) and the Court’s order
dated September 21, 2023, granting Plaintiffs leave to file a further amended complaint to
address the Motion to Dismiss decision regarding OST (Dkt. 76), and setting a deadline for that
filing of October 23, 2023. We are continuing to evaluate with our clients whether or not to file
a further amended complaint. We request that the deadline be extended by 30 days to be able
to make an informed decision and prepare the amendment, if our client decides to do so.
We therefore respectfully request that the deadline within which Plaintiffs must file their
amended complaint (if any) be extended to November 22, 2023.

OST does not oppose this request. M E M O E N D O R S E D

The request to extend the date by which the amended
complaint must be filed, until November 22, 2023, is
granted. SO ORDERED.

We thank Your Honor for his consideration.

Respectfully submitted,

/s/ Akiva Shapiro \ C/ )

Akiva Shapiro Edgardo Ramos, U.S.D.J.
Dated: October 11, 2023

New York, New York

Cc: All Counsel Of Record (via ECF)

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